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                              UNITED STATES DISTRICT COURT FOR THE
                                   DISTRICT OF SOUTH CAROLINA
                                        COLUMBIA DIVISION

KYLON MIDDLETON; DEON TEDDER;
AMOS WELLS; CARLYLE DIXON;
TONYA WINBUSH; ERNESTINE MOORE;
SOUTH CAROLINA DEMOCRATIC                               Case No. 3:20-cv-1730-JMC
PARTY; DNC SERVICES
CORPORATION/DEMOCRATIC
NATIONAL COMMITTEE; and DCCC,

               Plaintiffs,

                         v.

MARCI ANDINO, in her official capacity as
Executive Director of the South Carolina State
Election Commission; JOHN WELLS, in his
official capacity as Chair of the South Carolina
State Election Commission; and CLIFFORD J.
EDLER and SCOTT MOSELEY, in their
official capacities as members of the South
Carolina State Election Commission,

             Defendants.




             JOINT STIPULATION RESOLVING PREPAID POSTAGE CLAIMS

       COME NOW Kylon Middleton, Deon Tedder, Carlyle Dixon, Tonya Winbush, Ernestine

Moore, the South Carolina Democratic Party, DNC Services Corporation/Democratic National

Committee, and the DCCC (collectively, “Plaintiffs”); and Marci Andino, John Wells, Clifford J.

Elder, and Scott Moseley (collectively, “SEC Defendants”) in the above-referenced litigation and

hereby stipulate that Count III and the portions of Count II and IV of the Complaint related to

postage be dismissed without prejudice and resolved as follows:

       (1)      Plaintiffs’ Complaint alleges, among other things, that the State’s requirement that

voters pay for postage to return their absentee ballots by mail violates (i) the First and Fourteenth
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Amendments to the United States Constitution by unduly burdening the right to vote (Count II),

(ii) the Twenty-Fourth Amendment by imposing a poll tax (Count III), and (iii) Section 2 of the

Voting Rights Act by denying or abridging African Americans’ right to vote (Count IV) (the

“Postage Claims”). SEC Defendants deny Plaintiffs’ allegations.

       (2)     SEC Defendants, in their capacity as officers and members of the State Election

Commission, represent that the Commission intends to provide prepaid postage on all mail

absentee ballot return envelopes for the November 2020 General Election, regardless of the

number of voters deemed qualified to vote by absentee ballot by either the General Assembly or

this Court.

       (3)     Plaintiffs and SEC Defendants agree that SEC Defendants’ representation that

postage will be prepaid for absentee ballots for the November 2020 general election makes further

litigation, or Court resolution, of the Postage Claims unnecessary. Within ten (10) days of the filing

of this Joint Stipulation, Plaintiffs will file a motion to amend and amended complaint to remove

all claims and allegations relating to prepaid postage from the Complaint, and to that extent, SEC

Defendants consent to such motion to amend.

       (4)     The parties agree that they shall bear their own attorney fees and costs related to

the Postage Claims only, and no party shall be considered to be a prevailing party on the Postage

Claims for the purpose of any law, statute or regulation providing for the award or recovery of

attorney fees and/or costs.




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Date: July 8, 2020                         Respectfully submitted,

/s/ Christopher J. Bryant                   /s/ Wm. Grayson Lambert

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